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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


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 ESTA TE OF YAEL BOTVIN, et al. ,

                                   Plaintiffs,                            Docket No:
                                                                          21-cv-3186 (RCL)
                            -against-

 HEIDEMAN, NUDELMAN & KALIK, P.C., et al,

                                   Defendants.

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                                                    ORDER

        Plaintiffs having moved for an enlargement of time to oppose Defendants' motion to

dismiss, it is:

        ORDERED that Plaintiffs ' time to respond to Defendants ' motion is enlarged through

April 1, 2022, and Defendants ' time to file reply papers with respect to that motion is enlarged

through April 15, 2022 ..



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                                                              U.S.D.J.                       date
